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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION

ALLIANCE LAUNDRY SYSTEMS LLC,

       Plaintiff,

v.

TRUDY ADAMS, et al.,

        Defendants
--------------------------------------------------
TRUDY ADAMS, JOHN “CLAY”
WILLIAMS,
                                                     Case No.: 23-cv-22130-MCR-ZCB
       Defendant/Counterclaim
       Plaintiffs,

v.

ALLIANCE LAUNDRY SYSTEMS LLC,
GREG REESE, MIKE HAND and
SAMANTHA BAKER,

       Plaintiff/Counterclaim
       Defendants and Third-Party
       Defendants


          DECLARATION OF MELINDA S. GIFTOS IN SUPPORT OF
     ALLIANCE’S RESPONSE TO DEFENDANTS’ MOTION TO STRIKE THE
       EXPERT DECLARATION OF MARK LANTERMAN AND EXCLUDE
                     LANTERMAN’S TESTIMONY


       I, Melinda S. Giftos, being first duly sworn and under oath, depose and
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state as follows:

        1.   I am an attorney at Husch Blackwell LLP. I represent Alliance

Laundry Systems LLC (“Plaintiff”) in this lawsuit. I make this Declaration based

on personal knowledge and in support of Alliance’s Response to Defendants’

Motion to Strike Expert Declaration of Mark Lanterman and Exclude

Lanterman’s Testimony.

        2.   Attached as Exhibit 1 are relevant excerpts of the transcribed

videotaped sworn deposition of Mark Tracey Lanterman, taken on February 11,

2025.

        3.   On March 25, 2025, I called the Hennepin County Attorney’s Office

to identify myself as counsel in the Florida case being cited in media that led to

the office’s investigation of Mr. Lanterman. I did not receive an answer, so I left

a message.

        4.   On March 25, 2025, I called the Minneapolis field office for the

United States Secret Service to confirm whether Mr. Lanterman was a member

of the U.S. Secret Serves Electronic Crimes Task Force in approximately 1995-

2003. He said he’d send it to duty officer and would get back to me as soon as

possible. The Special Agent in charge of the office, Matt Cyber, called me back

and confirmed that: (a) Mark Lanterman was a sworn investigator for the

United States Secret Service Electronic Crimes Task Force while he was
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employed by Hopkins Police Department; and (b) that all members of the

United States Secret Service Electronic Crimes Task Force are sworn in as U.S.

Marshals.

      5.    On March 25, 2025, I submitted a FOIA request with the United

States Department of Justice United Marshals Service to seek verification that

Mr. Lanterman was sworn as a U.S. Marshal as part of his participation in the

United States Secret Service Electronic Crimes Task Force via its online tool.

According to their website, responses will take 11 working days for simple

requests and 93 working days for complex requests. I have not yet received a

response to my request, but expect to.
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        6.    Attached as Exhibit 2 is Defendant’s Objections and Responses to

Alliance Laundry Systems LLC’s Second Set of Requests for Production to John

“Clay” Williams at ¶46 served to Alliance June 24, 2024.

        7.    Attached as Exhibit 3 is - Defendant's Amended Responses and

Objections to Alliance Laundry Systems LLC’s Second Set of Requests for

Production to John “Clay” Williams at ¶46 served to Alliance on October 8,

2024.

        8.    Alliance produced forensic images to Defendants including Bates

Stamp No. ALSD000003458 December 6, 2024.

        9.    Attached as Exhibit 5 is an email, a true and correct copy of

Plaintiff’s production bearing Bates Stamp No. ALSD000016134 .

        10.   Attached as Exhibit 6 is a true and correct copy of Plaintiff’s

production bearing Bates Stamp No. ALSD000016131 and Defendants’

production bearing Bates Stamp Nos. JOINTD0019292- JOINTD0019293.

        11.   Attached as Exhibit 7 is Defendant’s Objections and Responses to

Alliance Laundry Systems LLC’s Second Set of Requests for Production Trudy

at ¶54 served to Alliance June 24, 2024.

        12.   Attached as Exhibit 8 is - Defendant's Amended Responses and

Objections to Alliance Laundry Systems LLC’s Second Set of Requests for

Production to Trudy Adams at ¶54 served to Alliance on October 8, 2024.
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        13.   Attached as Exhibit 9 is Defendant’s Objections and Responses to

Alliance Laundry Systems LLC’s Second Set of Requests for Production Trudy

at ¶55 served to Alliance June 24, 2024.

        14.   Attached as Exhibit 10 is Defendant's Amended Responses and

Objections to Alliance Laundry Systems LLC’s Second Set of Requests for

Production to Trudy Adams at ¶55 served to Alliance on October 8, 2024.

        15.   Attached as Exhibit 11 is Defendant Trudy Adams’, Responses and

Objections to Plaintiff’s Second Set for Production at ¶75 served to Alliance

January 31, 2025.

        16.   Attached as Exhibit 12 is an email and attachment, a true and

correct copy of Defendants’ production bearing Bates Stamp Nos. TA000290-

TA000291.

        17.   Attached as Exhibit 13 is an email and attachment, a true and

correct copy of Defendants’ production bearing Bates Stamp Nos.

JOINTD0017419- JOINTD0017420.

        18.   Attached as Exhibit 14 are relevant excerpts of the transcribed

videotaped sworn deposition of John “Clay” Williams, taken on January 20,

2025.
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      19.   Attached as Exhibit 15 is a true and correct copy of Defendants’

production bearing Bates Stamp Nos. CW000006, CW000004, CW000066,

CW000045, CW000008, CW000786, DEF025969, CW000791.




      25.   Mr. Lanterman produced a copy of the certificate he received in

cybersecurity from Harvard that stated Mr. Lanterman had completed all

requirements in the Cybersecurity: Managing Risk in the Information Age on

July 26, 2018. The certificate was issued by Harvard Office of Vice Provost for

Advances in Learning. A true and correct copy of the certificate is attached as

EXHIBIT 20. ALSD000025794
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       26.   The University of St. Thomas School of Law identifies Mr.

Lanterman      as    faculty      on      its   publicly       facing     website       at

https://law.stthomas.edu/about/faculty-staff/directory/mark-lanterman/. A

true and correct copy of a printout of that website is attached as EXHIBIT 21.

       27.   The National Judicial College in Reno, NV lists Mr. Lanterman as

faculty for “Advanced Skills for Appellate Judges,” which was held between

November 11 and November 14, 2025 on its publicly facing website at

https://www.judges.org/courses/advanced-skills-for-appellate-judges/.                   A

true and correct copy of a printout of that website is attached as EXHIBIT 22.

       28.   The Sedona Conference website lists Mr. Lanterman as its faculty

on           its         publicly               facing            website               at

https://thesedonaconference.org/AI and the law part 1. A true and correct

copy of a printout of that website is attached as EXHIBIT 23.

       29.   Attached as Exhibit 24 is a true and correct copy of November

2022 report published by the National Institute of Standards and Technology

(NIST) entitled “Digital Investigation Techniques: A NIST Scientific Foundation

Review.”
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      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct.

      Dated March 28, 2025.

                                    s/Melinda S. Giftos
                                    Melinda S. Giftos
                                    Florida Bar No. 0302960
                                    HUSCH BLACKWELL LLP
                                    33 E. Main St. Ste. 300
                                    Madison, Wisconsin 53703
                                    608.234.6076
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                                    Attorney for Plaintiff and Counterclaim
                                    Defendant, Alliance Laundry Systems LLC
                                    and Third-Party Defendants, Greg Reese,
                                    Mike Hand and Samantha Baker
